        Case: 13-5884         Document: 006111821236         Filed: 09/17/2013    Page: 1           (1 of 2)




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov
                                                Filed: September 17, 2013
Mr. Robert E. Boston
Waller, Lansden, Dortch & Davis
511 Union Street
Suite 2700
Nashville, TN 37219

Mr. Paul F. Heaton
Godfrey & Kahn
780 N. Water Street
Milwaukee, WI 53202

Mr. Daniel C. W. Narvey
Godfrey & Kahn
780 N. Water Street
Milwaukee, WI 53202

Mr. Joseph Rosson Pepper
Pepper & Brothers
2323 21st Avenue, S
Nashville, TN 37212

                    Re: Case No. 13-5884, John Selby, Jr. v. The Northwestern Mutual Life
                        Originating Case No. : 3:12-cv-00560

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                Sincerely yours,

                                                s/Connie A. Weiskittel
                                                Mediation Administrator


cc: Mr. Keith Throckmorton

Enclosure

No mandate to issue



  Case 3:12-cv-00560 Document 131 Filed 09/17/13 Page 1 of 2 PageID #: 4660
          Case: 13-5884       Document: 006111821235           Filed: 09/17/2013     Page: 1   (2 of 2)



                                         Case No. 13-5884

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



JOHN H. SELBY, JR.

              Plaintiff - Appellant

v.

THE NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY

              Defendant - Appellee



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: September 17, 2013
                                                  ___________________________________




     Case 3:12-cv-00560 Document 131 Filed 09/17/13 Page 2 of 2 PageID #: 4661
